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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



 Criminal Case No. 17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 KAREN LYNN McCLAFLIN,
     Defendants.

 _____________________________________________________________________

             DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR
            COMPASSIONATE RELEASE OR HOME CONFINEMENT
 _____________________________________________________________________

       Defendant Karen McClaflin, through counsel, respectfully submits this Reply in

 Support of Motion for Compassionate Release or Home Confinement:

       1.      INTRODUCTION:       On June 5, 2020, Defendant filed her Pro Se Motion

 for Compassionate Release or Home Confinement Per the Care and First Step Acts.

 [Doc.117]. This Court has previously observed that pro se pleadings should be

 reviewed liberally and held to a less stringent standard than those drafted by an

 attorney. See e.g. Hutchinson v. Milyard, 2011 U.S. Dist. LEXIS 743 (2011). On June

 15, 2020, the Probation Office’s Response [Doc.121] and the Government’s Response

 to Defendant’s Motion for Compassionate Release [Doc. 122] were filed. Ms. McClaflin,

 through counsel, now submits this Reply.

       2.      EXHAUSTION OF ADMINISTRATIVE REMEDIES:                 The government

 first responds by claiming that Ms. McClaflin has failed to exhaust administrative
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 remedies. The government claims that “the defendant never submitted a new request

 for compassionate release to address her concerns regarding COVID-19.” [Doc.122,

 p.3]. In fact, she has. The history of Ms. McClaflin’s efforts to exhaust administrative

 remedies is detailed and documented in her pro se motion. Ms. McClaflin filed separate

 requests for an administrative remedy on November 18, 2019 and January 27, 2020

 based on her medical condition. [Doc.117, pp.33, 35-36]. These requests for

 administrative remedy did not specifically cite the COVID-19 pandemic as grounds for

 relief. However, on June 1, 2020, Ms. Claflin submitted a third request for

 administrative remedy which specifically noted that she was at extraordinary risk to

 contract COVID-19 with potential catastrophic consequences. [Doc. 117, pp.25-26

 (Attachment to BP-9)]. More than thirty (30) days have now passed since June 1, 2020

 when Ms. McClaflin submitted her third request for administrative remedy.

        18 U.S.C. §3582(c)(1)(A) provides that a motion for compassionate release can

 be filed after the lapse of 30 days from the date a request for administrative remedy is

 received by the warden of the defendant’s facility. Ms. McClaflin is not certain of the

 date that her third request was received by the warden; however, she does know that

 the request was submitted on June 1, 2020. More than 30 days have passed since Ms.

 McClaflin requested an administrative remedy based on concerns about COVID-19.

 Accordingly, Ms. McClaflin’s submits that her requests for administrative remedy are

 ripe for review by this Court.

        Counsel is aware that this Court has consistently held that exhaustion is a

 jurisdictional requirement for the Court to entertain a request for compassionate release.



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 See e.g. United States v. Soto, 16-cr-238-CMA (April 15, 2020); United States v. Riley,

 17-cr-134-CMA (April 17, 2020); United States v. Ramirez-Argueta, 14-cr-427-CMA

 (May 29, 2020); United States v. Maynard, 18-cr-395-CMA (May 15, 2020). In these

 cases the Court found a failure to exhaust based on (1) the record being “devoid” of any

 evidence of an attempt to comply with administrative exhaustion requirements

 (Ramirez-Argueta, Soto); (2) the defendant conceded a failure to exhaust (Riley); or (3)

 the defendant “provide(d) no direct evidence” of exhaustion (Maynard). Unlike these

 cases, Ms. McClaflin has provided direct evidence of exhaustion. [Doc. 117, pp.25-26

 (Attachment to BP-9)].

       3.     MS. McCLAFLIN’S MEDICAL CONDITION AND VULNERABILITY TO

 COVID-19:    Ms. McClaflin’s medical records confirm that she is especially vulnerable

 to COVID-19. The Center for Disease Control and Prevention website states the

 following: “People of any age with the following conditions are at increased risk of

 severe illness from COVID-19: COPD (chronic obstructive pulmonary disease).” See

 Exhibit A, print-out from CDC website (emphasis in original on CDC website). 1 Ms.

 McClaflin has Chronic Obstructive Pulmonary Disease. [Doc. 122-3, pp.2, 26]. Whether

 or not, as the U.S. Attorney opines, Ms. McClaflin’s COPD is related to her history of

 being a smoker is irrelevant. [Doc. 122, p.5]. What is relevant is that (1) COPD creates




       1  Full document available at https://www.cdc.gov/coronavirus/2019-ncov/need-
 extra-precautions/people-with-medical-
 conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F
 2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html



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 an “increased risk of severe illness from COVID-19”, and (2) Ms. McClaflin has COPD.

        While the etiology of Ms. McClaflin’s COPD diagnosis is not relevant, her history

 of smoking is. As recently as last week the CDC updated its list of underlying medical

 conditions that increase a person’s risk of severe illness from COVID-19 and noted that

 a history of smoking may create increased risk. See Exhibit B. 2

        The government argues that Ms. McClaflin’s request for relief should be denied

 because, inter alia, the BOP medical records that the government attached to its

 Response do not note a diagnosis of autoimmune disorder. The extensive record that

 has previously been made in this case regarding Ms. McClaflin’s medical condition

 should not be ignored. [Docs. 26, 36, 55, 65, 87, 93, 99, 107, 108, 109] 3. The record in

 this case is replete with documentation that Ms. McClaflin has a history of “chronic”,

 “acute”, “recurrent” infections. One medical report in the Court file describes Ms.

 McClaflin as “relatively frail and in a weakened state” and as being in a “physically

 deconditioned and weakened state.” [Doc.36].

        Further, a report relied on by the CDC when it updated the list of underlying

 medical conditions that increase a person’s risk of severe illness from COVID-19

 (Exhibit B, pp.2,5) states as follows: “Smoking . . . increase(s) risk and severity of


        2 From CDC website at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

 precautions/evidence-table.html.
        3 In addition to these court filings, on January 14, 2019 a hearing was held in this

 matter and the Court received testimony from two medical professionals. [Doc. 81]. The
 Court file does not include transcript of the hearing. Accordingly, counsel is unable to
 comment of the substance of the testimony; however, counsel suspects that Ms.
 McClaflin’s long-standing heath issues were discussed.



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 pulmonary infections because of damage to upper airways and a decrease in

 pulmonary immune function.” 4 The report further states, “our analysis confirms that

 smoking is a risk factor for progression of COVID-19, with smokers having 2.25 times

 the odds of severe COVID-19 outcomes that never smokers. . . . The finding that

 smoking is associated with COVID-19 progression is not surprising because of the

 adverse effects of smoking on pulmonary immune function.” In short, smoking

 causes immunodeficiency. This is not a novel medical concept or a recent discovery,

 see e.g. Bauer, CMT, et al, The Influence of Cigarette Smoking on Viral Infections,

 available at https://doi.org/10.1378/chest.12-0930 (“cigarette smoke profoundly affects

 the immune system, compromising the host’s ability to mount appropriate immune and

 inflammatory responses. . .”(emphasis added)).

        It is also noteworthy that Ms. McClaflin’s medical records document that she

 suffers from “Renal insufficiency” [Doc. 93, p.3] and that the CDC states that there is

 strong and consistent evidence that “chronic kidney disease” increases a person’s risk

 of severe illness from COVID-19. Exhibit B.

        Unquestionably, Ms. McClaflin suffers from a medical condition(s) identified by the

 CDC as putting her at a higher risk of serious illness from COVID-19. Recently, the

 Department of Justice has taken the position that inmates who suffer from a condition

 identified by the CDC as putting them at higher risk for severe illness from COVID-19 and



        4 Patanavanich, R and Glantz, S, Smoking is Associated with COVID-19

 Progression: A Meta-Analysis, available at:
 https://www.medrxiv.org/content/10.1101/2020.04.13.20063669v1.



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 who are not expected to recover from that condition, present an “extraordinary and

 compelling reason” to be considered for compassionate release under U.S.S.G. § 1B1.13

 cmt. n. 1(A)(ii)(I)—even if that condition in ordinary times would not meet the terms of the

 policy statement. See, e.g., Letter Amending Government’s Response, United States v.

 Wise, 1:18-cr-00072-ELH, ECF 185 (D. Md. May 18, 2020) (“consistent with current DOJ

 policy, the Government does not contest the Defendant’s eligibility for being considered

 for compassionate release in this case because he suffers from a condition identified by

 the CDC as putting him at higher risk for severe illness.”); see also Government’s

 Response, United States v. Feucht, 0:11-cr-60025, ECF 51, p.5 (S.D. Fla. May, 26, 2020)

 (“The Government acknowledges that during the current COVID-19 pandemic, an inmate

 who presents one of the CDC risk factors, which include diabetes, as confirmed by

 medical records, and who is not expected to recover from that condition, presents an

 extraordinary and compelling reason that would allow compassionate release under the

 statute and guideline policy statement, even if that condition in ordinary times would not

 allow compassionate release.”); Government’s Response to Defendant’s Motion for

 Compassionate Release, United States v. Moralez, 1:13-cr-00073-SWS, ECF 50, p.3 (D.

 Wyo. May 27, 2020) (“The Department of Justice takes the position that the mere

 existence of COVID-19 is not sufficient to qualify an inmate for compassionate release.

 However, if an inmate has a chronic health condition that makes him particularly

 vulnerable to serious illness from COVID-19, as determined by the CDC, then the

 Department would deem he has satisfied the pertinent criteria in Application Note

 1(A)(ii)(I).”).



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       4.     MEASURES TAKEN BY THE BOP TO MITIGATE THE RISKS OF

 COVID-19:    The government claims that the BOP has taken appropriate measures to

 mitigate the risks of COVID-19. To support this assertion the government relies, inter

 alia, on a Declaration from the Associate Warden at FMC Carswell, Raul Campos.

 [Doc.122-4]. Several statements in Mr. Campos’ Declaration are noteworthy.

       The Campos Declaration states, “As of today’s date, there are currently no

 inmates or staff with active COVID-19 at FMC Carswell.” [Id., ¶28]. Having no evidence

 to the contrary, the Defendant will accept that this statement was accurate when written;

 however, it is no longer true. According to the BOP’s own website, as of this morning,

 there are 24 confirmed active case of COVID-19 at FMC Carswell (23 inmates and 1

 staff). This represents a 2,300% increase of confirmed active cases at FMC

 Carswell in the past week. The percentage increase based on numbers from Mr.

 Campos’ Declaration is incalculable. Further, because of the BOP’s testing protocol,

 little confidence can be placed in the BOP’s reporting of confirmed active cases of

 COVID-19 at FMC Carswell. According to the BOP’s procedures, “symptomatic

 inmates” are tested for COVID-19. See Exhibit C, p.2, BOP Implementing Modified

 Operations. 5 The current best estimate from the CDC is that 35% of persons infected

 with COVID-19 are asymptomatic with possible asymptomatic infections ranging from




       5 BOP Modified Operations available at https://www.bop.gov/coronavirus/

 covid19_status.jsp.



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 20% to 50%. See Exhibit D, CDC COVID -19 Pandemic Planning Scenarios. 6

 Accordingly, because a high percentage of persons infected with COVID-19 are

 asymptomatic but only symptomatic inmates are tested, the number of active cases

 reported by FMC Carswell is of limited value. In any event, the staggering increase of

 confirmed COVID-19 infections at FMC-Carswell leaves no doubt that the BOP’s efforts

 to mitigate the risks of COVID-19 are largely ineffective.

        Mr. Campos reports on two inmates at FMC Carswell who had COVID-19.

 Regarding the first of those inmates Mr. Campos reports that “she was housed in

 quarantine and isolation the entire time she was at FMC Carswell.” [Doc.122-4, ¶28].

 What Mr. Campos does not say it that this inmate’s “entire time” at FMC Carswell was

 extremely short because she died from COVID-19. Commendably the government’s

 response does include this inconvenient fact that apparently slipped Mr. Campos’ mind.

        Mr. Campos also reports that “FMC Carswell has reviewed all of its Care Level 4

 inmates for eligibility for priority consideration for home confinement under the CARES

 Act and the Barr memoranda.” [Doc.122-4, ¶26]. Mr. Campos neglects to point out that

 Ms. McClaflin was not included in this review. Again, the government’s response does

 report that Ms. McClaflin was not included in this review but does so by suggesting that

 she isn’t really all that sick. [Doc. 122, p.7].

        Mr. Campos also suggests that Ms. McClaflin will be safer at FMC Carswell,



        6 CDC report available at https://www.cdc.gov/coronavirus/2019-

 ncov/hcp/planning-scenarios.html. In this report the CDC also estimates that the
 infectiousness of asymptomatic individuals relative to symptomatic individual is 100%.



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 where one inmate has already died from COVID-19 and where there has been a

 2,300% increase in confirmed cases in the last week, than she would be at home

 serving her sentence in home confinement. [Doc.122-4, ¶6]. To be blunt, this

 suggestion is preposterous and was rejected by Judge Raymond Jackson in the

 Eastern District of Virginia:

              Despite the BOP’s protection measures, individuals housed in
              prisons remain particularly vulnerable to infection. Even in the best
              run prisons, officials might find it difficult if not impossible to follow
              the CDC’s guidelines for preventing the spread of the virus among
              inmates and staff: practicing fastidious hygiene and keeping a
              distance of at least six feet from others. Thus, the Court need not
              wait until an outbreak occurs to determine whether to release
              Petitioner, especially whereas here, Petitioner suffers from
              underlying health conditions that may become fatal if she contracts
              COVID-19.
 Benn v. United States, E.D.VA, Case No. 2:17-cr-30, ECF 122, PageID# 711 (internal

 citations and quotations omitted).

        In Reply to the government’s claim that the BOP has taken appropriate measures

 to mitigate the risks of COVID-19, Ms. McClaflin invites the Court’s attention to a letter

 from Regina Warren, the President of AFGE Local 1006 to Senator John Cornyn,

 attached hereto as Exhibit E. According to Ms. Warren, and contrary to the assurances

 from the BOP, in addressing COVID-19 “FMC Carswell knowingly and willingly misled

 the public placing the staff, inmates, and community at risk to the most lethal pandemic

 since 1920.”

        5.      The Legal Standard for Relief:       Pursuant to the First Step Act, 18 U.S.C.

 3582(c)(1)(A), a court may modify a term of imprisonment, “after considering the factors

 set forth in section 3553(a) to the extent they are applicable,” if (a) “extraordinary and



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compelling reasons warrant” relief and (b) relief is “consistent with applicable policy

statements issued by the Sentencing Commission.” The Sentencing Commission has

provided an expansive definition of “extraordinary and compelling reasons” at U.S.S.G.

§1B1.13, note 1. The definition has three general categories of “extraordinary and

compelling reasons” (medical condition, age and family circumstances) but also includes a

“catch-all provision” that allows a finding of “extraordinary and compelling reasons” on

other grounds. The Sentencing Guidelines also provide that “an extraordinary and

compelling reason need not have been unforeseen at the time of sentencing.” Id, note 2.

       Here, Ms. McClaflin has made a showing of extraordinary and compelling reasons

to grant relief. She has been diagnosed with an underlying medical condition (COPD) that

increases her risk of severe illness from COVID-19. Additionally, her history as a smoker,

standing alone, not only increases her risk from COVID-19, but also, “decreases her

pulmonary immune function.” “Renal insufficiency” further increases her risk. On top of all

this, the chronic issues surrounding Ms. McClaflin’s hip replacement and resulting

infections remain unresolved. The fact that her hip replacement issues were known at

time of sentencing does not preclude consideration of those facts in finding “extraordinary

and compelling” reasons to grant relief. In the age of COVID-19, it is “extraordinary and

compelling” that Ms. McClaflin has COPD, renal insufficiency, is a smoker with the

attendant consequences, has significant unresolved medical issues, and is housed in a

facility where infections are increasing at an alarming rate and a fellow inmate has already

died from COVID-19. Further, Ms. McClaflin will not pose a danger to the safety of any

other person or to the community and relief is consistent with applicable policy statement



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issued by the Sentencing Commission.

           The requested relief is consistent with Section 3553(a) factors. In considering Ms.

McClaflin’s motion the Court is directed to consider the sentencing factors set forth in

section 3553(a) to the extent that they are applicable.” 18 U.S.C. §3582(c)(1)(A). Ms.

McClaflin will not attempt to relitigate the §3553(a) factors that were thoroughly discussed

at the sentencing hearing; however, §3553(a) factors remain relevant and additional

pertinent information has become available. As the Court is aware, Ms. McClaflin worked

diligently to assist in locating assets that could be returned to the victims. Indeed, because

of her cooperation and assistance, the government filed a motion requesting a variant

sentence. [Doc.20]. We are happy to report that Ms. McClaflin’s efforts have been

successful. Attached hereto as Exhibit F, is a letter from James Barash who was

appointed receiver by the El Paso County District Court to pursue assets that could be

returned to victims.     Mr. Barash reports that to date the Receiver has recovered over $9.2

million for the estate and has distributed over $5 million to secured claimants and over

$1.6 million to unsecured claimants. Secured claimants have received a 100% return of

principal. As the Court well knows, this sort of recovery for victims of white-collar crime is

extraordinary. These recoveries are in no small measure the result of Ms. McClaflin’s

efforts. Mr. Barash reports that he continues to pursue assets that can be returned to the

victims and that, if transferred to home confinement, Ms. McClaflin could assist in those

efforts.

           6.     Relief Requested:    Ms. McClaflin’s request is that she be permitted to

serve her sentence in home confinement. If sentenced to home confinement she would



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(1) be relatively more safe from exposure to COVID-19 than she will be in the custody of

the BOP; (2) be able to receive necessary medical care more effectively and efficiently

(see §3553(a)(2)(D) ; and (3) be able to assist the court appointed Receiver in pursuing

assets for the benefit of victims.

       Despite Ms. McClaflin’s wishes, this Court likely lacks the authority to order that

she be transferred to home confinement. Pursuant to 18 U.S.C. §3586 and §3621(b), the

BOP, and not this Court, has the authority to choose the place of defendant’s

incarceration. 18 U.S.C. 3621(b) provides that "[t]he Bureau of Prisons shall designate

the place of the prisoner's imprisonment." "The term 'imprisonment' refers to any type of

custody,   including   custody       in   a   correctional   facility   or   home   confinement

program." Moresco v. United States, 982 F.2d 529, [published in full-text format at 1992

U.S. App. LEXIS 32819, 1992 WL 372399 (10th Cir. 1992)). Thus, the decision as to

defendant's placement rests with the Bureau of Prisons. The Court is without jurisdiction

to order how defendant's sentence is to be administered. Id; United States v. Samuels,

2019 U.S. Dist. Lexis 144787 (W.D.Ok. 2019). Accordingly, defendant’s understanding

is that this Court does not have the authority to order that Ms. McClaflin’s sentence be

served in home confinement. That said, this Court does have the statutory authority to

accomplish a similar result. 18 U.S.C. 3582(c) gives this Court the legal authority.

       18 U.S.C. 3582(c), provides that this Court “may modify a term of imprisonment”

and “may impose a term of probation or supervised release with or without conditions

that does not exceed the unserved portion of the original term of imprisonment.” 18

U.S.C. 3563(b)(19) specifically authorizes home confinement as a condition of



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probation. 18 U.S.C. 3583(d) gives the Court broad authority to impose conditions of

supervised release:

              The court may order, as a further condition of supervised
              release, to the extent that such condition—

                      (1) is reasonably related to the factors set forth in
                          section 3553(a)(1), (a)(2)(B), (a)(2)(C), and
                          (a)(2)(D) [18 USCS § 3553(a)(1), (a)(2)(B),
                          (a)(2)(C), and (a)(2)(D)];

                      (2) involves no greater deprivation of liberty than is
                          reasonably necessary for the purposes set forth
                          in section 3553(a)(2)(B), (a)(2)(C), and (a)(2)(D)
                          [18 USCS § 3553(a)(2)(B), (a)(2)(C), and
                          (a)(2)(D)]; and

                      (3) is consistent with any pertinent policy statements
                          issued by the Sentencing Commission pursuant
                          to 28 U.S.C. 994(a);

              any condition set forth as a discretionary condition of
              probation in section 3563(b) [18 USCS § 3563(b)] and any
              other condition it considers to be appropriate.

In addition to its authority to order home confinement as a condition, this Court has the

authority to order “any other condition it considers to be appropriate.” Accordingly, the

Court could, if it considered it appropriate, place Ms. McClaflin on location monitoring.

Further, although it probably goes without saying, Ms. McClaflin would be under the

supervision of the Probation Office and this Court would retain the authority to place her

back in BOP custody should she violate any condition of probation or supervised

release.

       7.     Conclusion: Based on the foregoing, Defendant respectfully request that

this court find that “extraordinary and compelling reasons” exist to modify the sentence in



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this case and order that:

              a. Her term of imprisonment be modified to time served with a term of

                 supervised release, with conditions that the Court deems appropriate, but

                 including, home confinement;

                 OR,

              b. Her sentenced be modified to a term of probation, with conditions that

                 the Court deems appropriate, but including, home confinement.

       DATED: July 3, 2020.       Respectfully submitted,

                                  NATHAN D. CHAMBERS LLC
                                  By:    s/Nathan D. Chambers
                                  Nathan D. Chambers
                                  303 16th Street, Suite 200
                                  Denver, Colorado 80202
                                  (303) 825-2222




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2020, I presented the foregoing to the Clerk of the
Court for filing and uploading to the CM/ECF system which will send notification of such filing
to counsel of record.



                                           By:    s/Nathan D. Chambers
                                           Nathan D. Chambers
                                           303 16th Street, Suite 200
                                           Denver, Colorado 80202
                                           (303) 825-2222




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